                                           JUDGE DAVID BRtOHES
                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                                                                          F LE D I


                                        EL PASO DIVISION                                         Qrr
                                                                                                       I   ) ZO21
                                                                                         CLERJ   UsSTRICT COURT
                                                                                        WESTERN D7RICT
  UNITED STATES OF AMERICA,                                                                            OF TEXfiS
                                                            CRIMINAL NO.
                              Plaintiff,
                                                            S V A   1   V.11
   V.
                                                            INDICTMENT
  RICARDO ROBLES,                                           CT 1: 18 USC § 1343 & 1349,
                                                            Conspiracy to Commit Wire Fraud
                              Defendant.
                                                            CTS 2-21: 18 USC § 1343, Wire Fraud

                                                            Notice of Government's Demandfor
                                                            Forftiture


                                                 COUNTONEEP
                                           (18 U.S.C. § 1343 & 1349)
                                                                               21    CR1549
                                    (Conspiracy to Commit Wire Fraud)

                                              INTRODUCTION

At all times relevant to this Indictment:

        1.   Defendant, RICARDO ROBLES, was employed by an El Paso, Texas business,
             hereinafter, the "Company" between 2005 and March 20, 2018.

        2. As part of his employment with the Company, defendant, RICARDO ROBLES, was
             responsible for arranging purchases of goods from various suppliers that the Company
             would then resell for a profit. RICARDO ROBLES negotiated prices with the suppliers
             and was often the sole contact between the Company and its suppliers.

        3.   "Bank A" is a financial institution located in Omaha, Nebraska. "Bank B" is a financial
             institution located in El Paso, Texas. "Bank C" is a financial institution located in El Paso,
             Texas. "Bank D" is a financial institution located in El Paso, Texas.


                                             THE CONSPIRACY

    Beginning on or about July 22, 2010 and continuing to and including on or about March 20,

2018, in the Western District of Texas and elsewhere, the defendant,
                                          RICARDO ROBLES

combined, conspired, confederated and agreed with others known and unknown to the Grand Jury

to commit an offense, that is to knowingly devise and attempt to devise a scheme and artifice to

defraud and to obtain money and property by means of material false and fraudulent pretenses,

representations and promises, both by affirmative acts and by deceitful concealment of material

facts, and the defendant and uncharged co-conspirators did transmit and caused to be transmitted

by means of wire communication in interstate commerce certain writings, signals and sounds,

including wire transfers of funds from accounts owned and controlled by the Company held at

Bank A to accounts owned and controlled by sham companies held at Banks B, C and D.

                                  Scheme and Artifice to Defraud

In furtherance of the conspiracy to defraud and to further the objectives of the conspiracy, it was
part of the scheme and artifice to defraud that:

    1.   Defendant, RICARDO ROBLES, on or about July 22,2010, by himself or through a third
         party, registered a corporation, hereinafter the "Pass-Through", that he used to further his
         unlawful scheme.

   2. Defendant, RICARJJO ROBLES, with the assistance of his co-conspirators, created
      numerous sham companies which he used to inflate the cost of goods to the Company.

   3. Defendant, RICARDO ROBLES, with the assistance of his co-conspirators, arranged for
         the sham companies to purchase goods from suppliers and then, through his employment
         with the Company, arranged for the Company to purchase those same goods at an inflated
         price.

   4. Defendant, RICARDO ROBLES, then arranged for payment to be made by the Company
         to the sham companies, after which he would then divert a portion of those payments to
         the Pass-Through for his own personal use. These payments were made from accounts
         owned and controlled by the Company located at Bank A to accounts owned and controlled
         by the sham companies at Banks B, C and D;

   5. Defendant, RICARDO ROBLES, concealed from the Company his involvement in
         arranging for the purchase of the goods by the sham companies and concealed from the
         Company his personal and business relationships with the purported owners of the sham
         companies.
All in violation of Title 18, United States Code, Sections 1343 and 1349.


                         COUNTS TWO THROUGH TWENTY-ONE
                                  (18 U.S.C. § 1343)
                                     (Wire Fraud)

        The Introduction and the Scheme and Artifice to Defraud alleged in Count One of this

Indictment are incorporated by reference in their entirety as if fully re-alleged herein.


        Beginning on or before September 16, 2016 and continuing to and including on or about

March 13, 2018, that is, on or about the dates alleged below, in the Western District of Texas, and

elsewhere, defendant,

                                      RICARDO ROBLES,


did devise and attempt to devise a scheme and artifice to defraud and to obtain money and property

from his employer, the Company, by means of material false and fraudulent pretenses,

representations and promises, both by affirmative acts and by deceitful concealment of material

facts, and for the purpose of executing the scheme described above, and attempting to do so, the

defendant caused to be transmitted by means of wire communication in interstate commerce

certain writings, signals and sounds described below for each count, each transmission constituting

a separate count:


 COUNT          RECEIVING BANK             SHAM COMPANY                 DATE          AMOUNT
 NUMBER         ACCT.                      RECEIVING
 (CT. )                                    TRANSFER
 CT.# 2         Bank C                     Sham Company 1               September $15,163.00
                                                                        16, 2016
CT.# 3          Bank C                     Sham Company      1          September $13,409.60
                                                                        23, 2016
CT.# 4          Bank C                     Sham Company     1           September $12,367.60
                                                                        30, 2016
  CT.# 5         Bank D                    Sham Company 2        October      $11,433.50
                                                                 14, 2016
  CT.# 6         Bank C                    Sham Company     1    October      $29,650.50
                                                                 21, 2016
  CT.# 7         Bank D                    Sham Company 2        October      $11,452.75
                                                                 21, 2016
  CT.# 8         Bank D                    Sham Company 2        October      $11,424.50
                                                                 28, 2016
  CT.# 9         Bank D                    Sham Company 2        November     $11,418.75
                                                                 4,2016
  CT.# 10        Bank C                    Sham Company     1     December    $12,245.00
                                                                  16, 2016
 CT.# 11         Bank C                    Sham Company     3     August 4,   $22,385.60
                                                                  2017
 CT.# 12         BankC                     Sham Company 3         September   $23,351.80
                                                                  14, 2017
 CT.# 13         Bank C                    Sham Company     3    November     $35,999.47
                                                                  16, 2017
 CT.# 14         Bank C                    Sham Company     3    November     $20,922.20
                                                                 30, 2017
 CT.# 15         Bank B                    Sham Company 4        December     $64,495.45
                                                                 21, 2017
 CT.# 16        Bank B                     Sham Company 4        February     $45,767.10
                                                                  1, 2018
 CT.# 17        Bank B                     Sham Company 4        February     $53,950.72
                                                                 8, 2018
 CT.# 18        Bank C                     Sham Company     3    February     $21,603.18
                                                                 15, 2018
 CT.# 19        Bank B                     Sham Company 4        March 1,     $48,195.37
                                                                 2018
 CT.# 20        Bank B                     Sham Company 4        March 8,     $49,465.81
                                                                 2018
 CT..# 21       Bank D                     Sham Company 2        March 13,    $14,297.60
                                                                 2018

All in violation of Title 18 United States Code, Section 1343.
                   NOTICE OF GOVERNMENT'S DEMAND FOR FORFEITURE
                                jSee Fed. R. Crim. P. 32.2]


                                                         I.

      Wire Fraud & Conspiracy to Commit Wire Fraud Violations and Forfeiture Statutes
         [Title 18 U.S.C. § 1343, 1349, subject to forfeiture pursuant to Title 18 U.S.C.
      § 981(a)(1)(C), as made applicable to criminal forfeiture by Title 28 U.S.C. 2461(c)]

          As a result of the criminal violations set forth in Counts One through Twenty-One, the

United States of America gives notice to Defendant RICARDO ROBLES of its intent to seek the

forfeiture of certain properties upon conviction and pursuant to FED. R.       CRIM.   P.   32.2 and Title 18

U.S.C.    §   981(a)(l)(C), as made applicable to criminal forfeiture by Title 28 U.S.C.              2461(c).
                                                                                                  §

Title 18 U.S.C.      §   98l(a)(l)(C) states in pertinent part:

          Title 18 U.S.C. § 981. Civil Forfeiture
              (a)( 1) The following property is subject to forfeiture to the United States:

                 (C) Any property, real or personal, which constitutes or is derived from proceeds
                 traceable to a violation. . . of this title or any offense constituting "specified unlawful
                 activity" (as defined in section 1956(c)(7) of this title), or a conspiracy to commit
                 such offense.

          Wire Fraud is an offense constituting "specified unlawful activity" as defined in section
1   956(c)(7).

          This Notice of Demand of Forfeiture includes but is not limited to the property described

in Paragraph III.

                                                    III.
                                               Money Judgment

       A sum of money that represents the proceeds which constitute or are derived from
proceeds traceable to the violations set forth in the Indictment for which Defendant RICARDO
ROBLES is liable.


                                               Substitute Assets

         If any of the above properties, as a result of any act or omission of the Defendant:
         a.        cannot be located upon the exercise of due diligence;
        b.      has been transferred or sold to, or deposited with, a third person;
        c.      has been placed beyond the jurisdiction of the Court;
        d.      has been substantially diminished in value; or
        e.      has been commingled with other property which cannot be subdivided without
                difficulty;

it is the intent of the United States to seek forfeiture, pursuant to Title 21 U.S.C.   §   853(p) and Fed.

R. Crim. P. 32.2, of any other property (substitute assets) of the Defendant up to the value of the

forfeitable properties.


                                                        A TRUE BILL
                                                                 ORIGINAL SIGNATURE
                                                              REDACTED PURSUANT TO
                                                             E-GOVERNMENT ACT OF 2002
                                                        FOREPERSON OF THE GRAND JURY

ASHLEY C. HOFF
UNITED STATES ATTORNEY


By:
       Ass stant United States Attorney
